          Case 1:18-cv-10704-ADB Document 6 Filed 10/17/18 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACUSETTS

MARIE ZAMOR             *
VLADIMIR JANVIER        *
ESTATE OF NATACHA ZAMOR *
                        *
                        *
           Plaintiffs,  *
                        *                           Case Number: 18-cv-10704-ADB
vs                      *
                        *                           JURY TRIAL REQUESTED
                        *
APPLE INC.              *
                        *
                        *
           Defendant.   *

    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF THE COMPLAINT

       COME NOW, Plaintiffs Marie Zamor (“Zamor”), Vladimir Janvier (“Janvier”), and Estate

of Natacha Zamor (“Estate”) (collectively referred to as (“the Family”), by and through their

undersigned counsel of record, hereby pursuant to Rule 41(a) of the Federal Rules of Civil

Procedure, notifies the Court that the Family voluntarily dismisses this complaint without

prejudice. The Defendant has not answered the complaint or moved for summary judgment on any

of the claims asserted therein. Therefore, the Family dismissal of this complaint is permitted by

Fed. R. Civ. P. 41(a)(1)(A)(i) without a Court Order.

                                                    Respectfully submitted
                                                    /s/ Donald LaRoche_______
                                                    Donald LaRoche
                                                    Bar No. 659378
                                                    Attorney for Plaintiffs
                                                    Law Office of Donald LaRoche
                                                    3360 Post Office Road #1801
                                                    Woodbridge, VA 22195
                                                    Telephone: (774) 204-1016
                                                    Facsimile: (774) 678-3023
                                                    Email: dlaroche@dlesq.net
Dated: October 17, 2018
